                     Case 2:08-cv-01241-JAM-EFB Document 125 Filed 11/13/08 Page 1 of 4


                1    MATTHEW G. JACOBS (Bar No. 122066)
                     matthew.jacobs@dlapiper.com
                2    ALEXANDER M. MEDINA (Bar No. 222015)
                     alexander.medina@dlapiper.com
                3    DLA PIPER LLP (US)
                     400 Capitol Mall, Suite 2400
                4    Sacramento, CA 95814-4428
                     Tel: 916.930.3200
                5    Fax: 916.930.3201

                6    Attorneys for Plaintiffs
                     VIDEO GAMING TECHNOLOGIES, INC.,
                7    UNITED CEREBRAL PALSY OF GREATER
                     SACRAMENTO, WIND YOUTH SERVICES,
                8    ROBERT FOSS, and JOAN SEBASTIANI

                9    ADDITIONAL COUNSEL LISTED ON
                     FOLLOWING PAGE
              10

              11                                     UNITED STATES DISTRICT COURT

              12                                     EASTERN DISTRICT OF CALIFORNIA

              13

              14     VIDEO GAMING TECHNOLOGIES, INC.,               CASE NO. 2:08-cv-01241-JAM-EFB
                     dba VGT, Inc., a Tennessee Corporation;
              15     UNITED CEREBRAL PALSY OF                       STIPULATION FOR FILING OF SECOND
                     GREATER SACRAMENTO, a California               AMENDED COMPLAINT
              16     Non-Profit Corporation; WIND Youth
                     Services, a California Non-Profit              Judge: Hon. John A. Mendez
              17     Corporation; ROBERT FOSS, an individual;
                     JOAN SEBASTIANI, an individual,
              18
                                       Plaintiffs,
              19
                             v.
              20
                     BUREAU OF GAMBLING CONTROL, a
              21     law enforcement division of the California
                     Department of Justice; MATHEW J.
              22     CAMPOY, in his official capacity as the
                     Acting Chief of the Bureau of Gambling
              23     Control,

              24                       Defendants.

              25
                     AND RELATED INTERVENORS.
              26

              27

              28
DLA P IPER LLP(US)
                     WEST\21596550.1                        STIPULATION FOR FILING OF SECOND AMENDED COMPLAINT

PDF created with pdfFactory trial version www.pdffactory.com
                     Case 2:08-cv-01241-JAM-EFB Document 125 Filed 11/13/08 Page 2 of 4


                1                               ADDITIONAL COUNSEL

                2    GEORGE GIGOUNAS (Bar No. 209334)
                     george.gigounas@dlapiper.com
                3    DEBORAH E. MCCRIMMON (Bar No. 229769)
                     deborah.mccrimmon@dlapiper.com
                4    DLA PIPER LLP (US)
                     153 Townsend Street, Suite 800
                5    San Francisco, CA 94107
                     Tel: 415.836.2500
                6    Fax: 415.836.2501

                7    HARLAN W. GOODSON (Bar No. 196740)
                     harlan@hgoodsonlaw.com
                8    THE LAW OFFICE OF HARLAN W. GOODSON
                9    1126 2nd Street, Suite 205
                     Sacramento, CA 95814
              10     Tel: 916.442.1562
                     Fax: 916.287.9243
              11

              12

              13

              14

              15

              16

              17

              18

              19
              20

              21

              22

              23

              24

              25

              26

              27

              28
DLA P IPER LLP(US)
                     WEST\21596550.1               STIPULATION FOR FILING OF SECOND AMENDED COMPLAINT

PDF created with pdfFactory trial version www.pdffactory.com
                      Case 2:08-cv-01241-JAM-EFB Document 125 Filed 11/13/08 Page 3 of 4


                 1            IT IS HEREBY STIPULATED, by and between plaintiffs and defendants, through their

                 2    respective attorneys of record, that plaintiffs may file a Second Amended Complaint, a copy of which

                 3    is attached hereto as Exhibit A.

                 4            IT IS FURTHER STIPULATED that defendants waive notice and service of the Second

                 5    Amended Complaint, and that said complaint shall be deemed filed and served as of the date the

                 6    Court approves this stipulation.

                 7            IT IS FURTHER STIPULATED that defendants shall have 30 days from the date the Court

                 8    approves this stipulation to file a response to the Second Amended Complaint.

                 9            IT IS FURTHER STIPULATED that, by executing this stipulation, defendants do not waive
               10     their right to challenge the sufficiency of the Second Amended Complaint and/or the claims and
               11     remedies contained therein, nor do defendants waive any substantive, procedural, and/or jurisdictional
               12     defenses regarding the Second Amended Complaint itself and/or any further proceedings that may be
               13     initiated on the basis of it.
               14
                      Dated: November 12, 2008
               15
                                                                    ATTORNEY GENERAL OF CALIFORNIA
               16

               17

               18
                                                                    By               /s/ William L. Williams, Jr.
               19                                                        WILLIAM L. WILLIAMS, JR.
                                                                         Deputy Attorney General
               20                                                        Attorneys for Defendants
               21     Dated: November 12, 2008
               22                                                   DLA PIPER LLP (US)
               23
                                                                    By               /s/ Alexander M. Medina
               24                                                        MATTHEW G. JACOBS
                                                                         ALEXANDER M. MEDINA
               25                                                        Attorneys for Plaintiffs
               26

               27

               28
DLA P IPER LLP (US)                                                    -1-
                      WEST\21596550.1                         STIPULATION FOR FILING OF SECOND AMENDED COMPLAINT


PDF created with pdfFactory trial version www.pdffactory.com
                      Case 2:08-cv-01241-JAM-EFB Document 125 Filed 11/13/08 Page 4 of 4


                 1    IT IS SO ORDERED.

                 2
                      Dated: November 13, 2008
                 3                                               /s/ John A. Mendez____________
                                                                 Hon. John A. Mendez
                 4                                               United States District Court Judge

                 5

                 6

                 7

                 8

                 9
               10

               11

               12

               13

               14

               15

               16

               17

               18

               19
               20

               21

               22

               23

               24

               25

               26

               27

               28
DLA P IPER LLP (US)                                        -1-
                      WEST\21596550.1               STIPULATION FOR FILING OF SECOND AMENDED COMPLAINT


PDF created with pdfFactory trial version www.pdffactory.com
